Order filed September 1, 2016




                                      In The

                     Fourteenth Court of Appeals
                                   ____________

                              NO. 14-16-00545-CV
                                   ____________

   REYNA ISABEL TABORDA AND PHILLIP L. HURLEY, Appellants

                                         V.

  SRINIVASACHARY V. TAMIRISA AND BARRY POWELL, Appellees


                    On Appeal from the 400th District Court
                            Fort Bend County, Texas
                     Trial Court Cause No. 15-DCV-221564

                                    ORDER

      The notice of appeal in this case was filed July 11, 2016. To date, the filing
fee of $205.00 has not been paid. No evidence that appellants are excused by statute
or the Texas Rules of Appellate Procedure from paying costs has been filed. See
Tex. R. App. P. 5. Therefore, the court issues the following order.

      Appellant is ordered to pay the filing fee in the amount of $205.00 to the clerk
of this court on or before September 12, 2016. See Tex. R. App. P. 5. If appellant
fails to timely pay the filing fee in accordance with this order, the appeal will be
dismissed.

      Further, no clerk’s record has been filed. The clerk responsible for preparing
the record in this appeal informed the court appellants did not make arrangements to
pay for the record.

      Unless appellants pay or make arrangements to pay for the record and provide
this court with proof of payment by September 12, 2016, the appeal will be
dismissed. See Tex. R. App. P. 37.3(b).

                                      PER CURIAM




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